     Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 1 of 17




           IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CHELSEY GOSSE,                 )
                               )
               Plaintiff       ) Civil Action No. 3:20-cv-01446-RDM
                               )
                               ) Hon. Robert D. Mariani
    v.                         )
TRANSWORLD SYSTEMS, INC.; U.S. )
BANK, NA.; RATCHFORD LAW       ) Electronically Filed
GROUP, P.C.; NATIONAL          )
COLLEGIATE STUDENT LOAN        )
TRUST 2007-3,                  )
                               )
               Defendants      )
                               )


     DEFENDANT NATIONAL COLLEGIATE STUDENT LOAN
   TRUST 2007-3’S MEMORANDUM OF LAW IN SUPPORT OF ITS
            MOTION TO DISMISS THE COMPLAINT
          Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 2 of 17


                                        TABLE OF CONTENTS

                                                                                                                 Page

TABLE OF AUTHORITIES ................................................................................... ii
INTRODUCTION ....................................................................................................1
STATEMENT OF FACTS AND PROCEDURAL HISTORY ...............................2
STATEMENT OF QUESTIONS INVOLVED........................................................3
STANDARD OF REVIEW ......................................................................................4
ARGUMENT ............................................................................................................5
I.       PENNSYLVANIA’S JUDICIAL PRIVILEGE DOCTRINE BARS
         PLAINTIFF’S CLAIMS AGAINST THE TRUST. ......................................5
II.      PLAINTIFF’S UTPCPL CLAIM FAILS BECAUSE SHE DID NOT
         JUSTIFIABLY RELY ON ANY STATEMENT BY THE TRUST. ............ 8
         A.       There Was No Deceptive Statement Or Conduct By The Trust. ......... 9
         B.       Plaintiff Fails To Allege Reliance On Any Allegedly Deceptive
                  Statement. ...........................................................................................10
III.     COUNT II FAILS BECAUSE THE FCEUA DOES NOT
         AUTHORIZE A PRIVATE CAUSE OF ACTION FOR
         PURPORTED VIOLATIONS. .....................................................................11
CONCLUSION .......................................................................................................12




                                                           -i-
          Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 3 of 17




                                     TABLE OF AUTHORITIES

                                                                                                          Page(s)

Cases
Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ..............................................................................................4

Bainbridge v. Ocwen Loan Servicing, LLC,
   No. 3:16-CV-0411, 2017 WL 1178047 (M.D. Pa. Mar. 30, 2017) ........5, 6, 7, 10

Bell Atl. Corp. v. Twombly,
   550 U.S. 544 (2007) ..........................................................................................4, 9

Binder v. Triangle Publ’ns, Inc.,
   275 A.2d 53 (Pa. 1971) .........................................................................................6

Bronstein v. Bayview Loan Servicing, LLC,
   No. CV 18-4223, 2020 WL 703652 (E.D. Pa. Feb. 11, 2020) ............................. 5

Dolan v. PHL Variable Ins. Co.,
  No. 3:15-CV-01987, 2017 WL 4812308 (M.D. Pa. Oct. 25, 2017) ..................... 8

Garczynski v. Countrywide Home Loans, Inc.,
  656 F. Supp. 2d 505 (E.D. Pa. 2009) .................................................................... 9

Gen. Refractories Co. v. Fireman’s Fund Ins. Co.,
  337 F.3d 297 (3d Cir. 2003) ................................................................................. 6
Hunt v. U.S. Tobacco Co.,
  538 F.3d 217 (3d Cir. 2008) .................................................................................8

Johnson v. Chase Manhattan Bank, USA N.A.,
   No. 07-526, 2007 WL 2033833 (E.D. Pa. July 11, 2007) .................................... 9

Kaymark v. Bank of Am, N.A.,
  783 F.3d 168 (3d Cir. 2015) abrogated on other grounds by
  Obduskey v. McCarthy & Holthus LLP, 139 S. Ct. 1029 (2019) .......................11

Morse v. Lower Merion Sch. Dist.,
  132 F.3d 902 (3d Cir. 1997) ................................................................................. 5



                                                          i
           Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 4 of 17




Moses v. McWilliams,
  549 A.2d 950 (Pa. Super Ct. 1988)....................................................................... 6

Murphy v. Fed. Deposit Ins. Corp.,
  408 F. App’x 609 (3d Cir. 2010) .......................................................................... 9

Post v. Mendel,
  507 A.2d 351 (Pa. 1986) .......................................................................................6

Prukala v. Chase Bank, N.A.,
   No. 3:19-CV-1791, 2020 WL 5351042 (M.D. Pa. Sept. 4, 2020) .....................11

Richmond v. McHale,
   35 A.3d 779 (Pa. Super. Ct. 2012)........................................................................ 6

Schwartz v. OneWest Bank, FSB,
   614 Fed. App’x. 80 (3d Cir. 2015) ...................................................................5, 7
Singleton v. Jas Auto. LLC,
   378 F. Supp. 3d 334 (E.D. Pa. 2019) ................................................................8, 9
Trump Hotels & Casino Resorts, Inc. v. Mirage Resorts, Inc.,
   140 F.3d 478 (3d Cir. 1998) ................................................................................. 4

Walkup v. Santander Bank, N.A.,
  147 F. Supp. 3d 349 (E.D. Pa. 2015) ..................................................................12
Yocca v. Pittsburgh Steelers Sports, Inc.,
   854 A.2d 425 (Pa. 2004) .......................................................................................7

Statutes
73 P.S. § 201-1 ..................................................................................................passim
73 P.S. § 2270.1 ................................................................................................passim

Other Authorities
Federal Rule of Civil Procedure 12(b)(6) .................................................................. 4
Local Rule 7.5 ............................................................................................................3

Local Rule 7.8 ............................................................................................................5



                                                            ii
       Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 5 of 17




      Defendant National Collegiate Student Loan Trust 2007-3 (the “Trust”), by

and through its undersigned counsel, submits this Brief in Support of its Motion to

Dismiss Plaintiff’s Complaint (the “Motion”).

                                 INTRODUCTION

      Chelsey Gosse (“Plaintiff”) brings this Unfair Trade Practices Consumer

Protection Law, 73 P.S. § 201-1 (“UTPCPL”), action against the Trust after

litigating, and successfully dismissing, a prior state court collection action.

Plaintiff’s Complaint rests on her allegation that an employee of Transworld

Systems, Inc. (“Transworld”) made unsupported statements in an affidavit filed in

that prior state court action.    Plaintiff’s claims fail for three reasons.1    First,

Plaintiff’s claims are barred by Pennsylvania’s judicial privilege doctrine because

they are based on statements made in the regular course of a judicial proceeding.

Second, to state a claim under the UTPCPL Plaintiff must allege that she relied on

the statements in the affidavit. Not only does she not make that allegation, but she

alleges affirmatively that she did not rely on those statements.          Indeed, she

objected to the complaint and the state court lawsuit was dismissed. Third, to the

extent that Plaintiff seeks to assert an FCEUA claim, it also fails. There is no

1
  It is unclear whether Plaintiff attempts to assert a claim against the Trust pursuant
to Pennsylvania’s Fair Credit Extension Uniformity Act, 73 P.S. § 2270.1
(“FCEUA”). (Compare Compl., ¶ 91 (alleging that the FCEUA claim is asserted
against Defendants Transworld and RLG) with id. ¶ 93 (referring to the “remaining
defendants”).) If she is asserting an FCEUA claim, it fails for the same reasons as
set forth in Sections II and III.

                                          1
       Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 6 of 17




independent FCEUA claim and the FCEUA claim fails for the same reasons as the

UTPCPL claim.

         STATEMENT OF FACTS AND PROCEDURAL HISTORY

      Plaintiff does not deny that she took out the defaulted student loan

underpinning the state debt collection action in the Superior Court, Lehigh County,

Pennsylvania, Case No. 2019-cv-2482.2 (Compl., ¶¶ 42–43.) Rather, Plaintiff

avers, in a general and conclusory manner, that the prior action was improper

because there was insufficient documentation supporting her alleged debt. (Id.,

¶¶ 42–43.)

      Almost eight months after she objected to the complaint in the debt

collection action and the court dismissed the complaint, Plaintiff brings suit against

the Trust based on representations that she claims Transworld and Ratchford Law

Group, P.C. (“RLG”) made in that action—representations that she claims were

made without the Trust’s authorization. (Id., ¶¶ 17, 18, 43.) In particular, Plaintiff

alleges that “Aaron Motin, an employee of Transworld,” submitted an affidavit

where he “claimed that Motin was fully familiar regarding the facts set forth in the

complaint that included there was an outstanding principal balance on a loan

currently owned by the Trust.” (Id., ¶ 46.)



2
 Plaintiff erroneously alleges that the case was brought in the Superior Court. The
Superior Court is a state intermediate appellate court; not a trial court.

                                          2
          Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 7 of 17




         Plaintiff alleges that the statements in the affidavit were unsupported, 3 and

that she incurred legal costs to defend the suit. Plaintiff also alleges that there was

insufficient evidence to support her ownership of the student loan. (Id., ¶ 49.) Yet,

Plaintiff does not allege that the Trust made or authorized any misleading or false

statement. She alleges the opposite. Plaintiff alleges that the Trust did not hire

Transworld, that Transworld does not act at the direction of the Trust, and that

Transworld does not follow any directions or instructions issued by the Trust. (Id.,

¶¶ 17, 18.)

         Plaintiff also does not allege that she relied on any statements made by the

Trust.     (See generally Dkt. No. 1.)       Instead, Plaintiff alleges that she filed

preliminary objections to the state court action and that the case was dismissed.

(Id., ¶¶ 44, 49.)

         The Trust filed a Motion to Dismiss on October 26, 2020 and now files this

Brief pursuant to Local Rule 7.5.

                    STATEMENT OF QUESTIONS INVOLVED

            1. Are Plaintiff’s claims barred by Pennsylvania’s judicial privilege

               doctrine?

               Suggested Answer: Yes.

            2. Does Plaintiff’s UTPCPL claim fail because she did not justifiably


3
    The Trust denies these allegations, which lack all merit.

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       Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 8 of 17




             rely on any statement of the Trust?

             Suggested Answer: Yes.

         3. Does Plaintiff’s FCEAU claim fail because she cannot state a claim

             under the UTPCPL, the only vehicle for enforcement of the FCEAU?

             Suggested Answer: Yes.

                            STANDARD OF REVIEW

      A motion to dismiss under Federal Rule of Civil Procedure 12(b)(6)

challenges whether the complaint states claims upon which relief can be granted.

“To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007)). A complaint should be dismissed under Rule 12(b)(6)

where no relief could be granted under any set of facts consistent with the

allegations of the complaint. Trump Hotels & Casino Resorts, Inc. v. Mirage

Resorts, Inc., 140 F.3d 478, 483 (3d Cir. 1998).

      When a complaint is challenged by a Rule 12(b)(6) motion, “a plaintiff’s

obligation to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more

than labels and conclusions, and a formulaic recitation of the elements of a cause

of action will not do. Factual allegations must be enough to raise a right to relief

above the speculative level on the assumption that all the allegations in the


                                          4
       Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 9 of 17




complaint are true (even if doubtful in fact).” Twombly, 550 U.S. at 555 (alteration

in original) (citations omitted). Thus, a plaintiff cannot rely on unsupported legal

conclusions, legal conclusions couched as factual allegations, or conclusory factual

allegations devoid of any reference to actual events. Morse v. Lower Merion Sch.

Dist., 132 F.3d 902, 906 n.8 (3d Cir. 1997).

                                  ARGUMENT

I.    PENNSYLVANIA’S JUDICIAL PRIVILEGE DOCTRINE BARS
      PLAINTIFF’S CLAIMS AGAINST THE TRUST.

      At the outset, Plaintiff premises her claims against the Trust solely on

statements made by others in the prior state court litigation. As the Third Circuit

has recognized, Pennsylvania’s judicial privilege doctrine bars claims based on

communications pertinent to any state of a judicial proceeding.        Schwartz v.

OneWest Bank, FSB, 614 Fed. App’x. 80, 81–82 (3d Cir. 2015) (finding that

Pennsylvania’s judicial privilege doctrine barred claimant’s UTPCPL and FCEUA

claims among others, against mortgage assignee); Bainbridge v. Ocwen Loan

Servicing, LLC, No. 3:16-CV-0411, 2017 WL 1178047, at *21 (M.D. Pa. Mar. 30,

2017) (dismissing UTPCPL claim); Bronstein v. Bayview Loan Servicing, LLC,

No. CV 18-4223, 2020 WL 703652, at *6 (E.D. Pa. Feb. 11, 2020) (dismissing




                                         5
          Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 10 of 17




UTPCPL and FCEUA claims premised on statements in prior debt collection

action).4 As explained in Schwartz:

      The judicial privilege ... extends to ‘communications [(1)] which are
      issued in the regular course of judicial proceedings and [(2)] which
      are pertinent and material to the redress or relief sought.’” Gen.
      Refractories Co. v. Fireman’s Fund Ins. Co., 337 F.3d 297, 311 (3d
      Cir. 2003) (quoting Post v. Mendel, 507 A.2d 351, 355 (Pa. 1986)).
      This privilege sweeps broadly to protect “[a]ll communications
      pertinent to any stage of a judicial proceeding,” Binder v. Triangle
      Publ’ns, Inc., 275 A.2d 53, 56 (Pa. 1971), including “not only ...
      communications made in open court, but also ... pleadings and even
      less formal communications such as preliminary conferences and
      correspondence between counsel in furtherance of the client’s
      interest,” Richmond v. McHale, 35 A.3d 779, 785 (Pa. Super. Ct.
      2012) (internal quotation marks and emphasis omitted). Although the
      judicial privilege most often bars defamation suits, Pennsylvania
      courts have applied the privilege broadly to confer “immunity from
      civil liability in the context of judicial proceedings.” Moses v.
      McWilliams, 549 A.2d 950, 956–57 (Pa. Super Ct. 1988).

Id. at 81–82 (emphases added).

      In Bainbridge, the Court dismissed a UTPCPL claim premised on a

mortgagee’s and loan servicer’s purported misrepresentations in a foreclosure

action.     There, the factual allegations underpinning plaintiff’s UTPCPL claim

consisted of statements made by the defendants in a prior foreclosure action.

Those allegations included:

      [Mortgagee and servicer] violated the UTPCPL by [r]epresent[ing]
      that an accurate account of plaintiffs’ loan had been made and
      reviewed thereafter in the course of the foreclosure . . . and [b]y the

4
 A copy of all unreported cases are attached in Appendix A pursuant to Local Rule
7.8

                                         6
      Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 11 of 17




      filing of underlying action represented that plaintiffs were in default
      [and] that defendants were entitled to foreclose [and] that the
      underlying foreclosure was lawful.

Id. at *22 (internal quotations omitted). The Court found that those representations

were protected by Pennsylvania’s judicial privilege because they were

communications “pertinent and material to the redress or relief sought in the

foreclosure action.”   Id. at *24.   Accordingly, the Court dismissed plaintiff’s

UTPCPL claims.

      Here, Plaintiff premises her claim on representations from a prior state court

action. Specifically, Plaintiff conclusively avers that the state court “complaint

filed by the Trust . . . was unfair, abusive and deceptive in multiple ways” and

then makes assertions regarding the state court complaint. (Compl. ¶ 45.) For

example, Plaintiff avers the state court complaint contained allegations that

“Chelsey Gosse had liability for a loan originated by JP Morgan Chase, which,

[Defendants] alleged, had subsequently been purchased by the Trust in

consolidated loan pools” and concludes “[t]hese statements were false, unfair, and

deceptive.” (Compl. ¶ 43.) She further identifies the content of an affidavit filed

in the state court action.       (Id., ¶ 46.)     Plaintiff does not allege any

misrepresentations were made to her that were not pertinent and material to the

relief sought in the state court action. Because those statements were made to




                                         7
      Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 12 of 17




advance arguments of relief sought in the debt collection suit, the Pennsylvania

judicial privilege applies. Schwartz, 614 Fed. App’x. at 83.

II.   PLAINTIFF’S UTPCPL CLAIM FAILS BECAUSE SHE DID NOT
      JUSTIFIABLY RELY ON ANY STATEMENT BY THE TRUST.
      In Count III, Plaintiff asserts claims under the UTPCPL. To state a claim

under the UTPCPL, under any subsection, a Plaintiff must allege that she

“justifiably relied on defendants’ wrongful conduct or representation and that they

suffered harm as a result.” Yocca v. Pittsburgh Steelers Sports, Inc., 854 A.2d 425,

438 (Pa. 2004). Although Plaintiff fails to specify the subsection pursuant to

which she pursues her claim, these threshold elements exist regardless of the

specific nature of the UTPCPL claim asserted.      Hunt v. U.S. Tobacco Co., 538

F.3d 217, 227 (3d Cir. 2008) (“[A] plaintiff must show that [s]he justifiably relied

on the defendant’s wrongful conduct or representation and that [s]he suffered harm

as a result of that reliance.”); Dolan v. PHL Variable Ins. Co., No. 3:15-CV-01987,

2017 WL 4812308, at *8 (M.D. Pa. Oct. 25, 2017) (noting that a plaintiff must

allege “reliance, causation, and an ascertainable loss” to state any UTPCPL claim).

      Plaintiff’s UTPCPL claim fails because: (1) the Complaint is devoid of any

claimed deception by the Trust; and (2) she has not, and cannot, plead reliance on

any purportedly misleading or deceptive representation by the Trust.




                                         8
       Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 13 of 17




       A.     There Was No Deceptive Statement Or Conduct By The Trust.
       Based on Plaintiff’s allegations, the Complaint does not implicate any

conduct by the Trust.     Instead, her case is predicated upon an unauthorized

statement made by Transworld in an affidavit filed in her state court action.

Noticeably absent are allegations demonstrating actionable conduct committed by

the Trust. To the contrary, Plaintiff alleges the Trust did not authorize such

statements. (Compl., ¶ 18.) The absence of any claimed false or deceptive conduct

by the Trust is fatal.

       In Singleton v. Jas Auto, the court dismissed a UTPCPL claim against a

defendant where plaintiff alleged only that the co-defendants engaged in deceptive

conduct, and not the subsequent assignee creditor. Singleton v. Jas Auto. LLC, 378

F. Supp. 3d 334, 351–52 (E.D. Pa. 2019). The court cited the Third Circuit’s

directive that “[t]he UTPCPL . . . does not impose liability on assignees,” like the

Trust here, without specific allegations that an assignee committed wrongdoing. Id.

at 352 (quoting Murphy v. Fed. Deposit Ins. Corp., 408 F. App’x 609, 611 (3d Cir.

2010)).     Thus, plaintiff could not rely on allegations of others’ purported

wrongdoing to sustain her claim against the assignee. Id. at 352. Accordingly, the

court dismissed plaintiff’s UTPCPL claim as to the subsequent creditor.

       Other like cases abound. See, e.g., Garczynski v. Countrywide Home Loans,

Inc., 656 F. Supp. 2d 505, 513 (E.D. Pa. 2009) (dismissing UTPCPL claim where



                                         9
      Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 14 of 17




plaintiffs failed to allege a defendant “made any representations to them”); Johnson

v. Chase Manhattan Bank, USA N.A., No. 07-526, 2007 WL 2033833, at *7 (E.D.

Pa. July 11, 2007) (same). The same outcome is required here.

      B.    Plaintiff Fails To Allege Reliance On Any Allegedly Deceptive
            Statement.
      Plaintiff does not allege that she relied at all—let alone “justifiably relied”—

on the alleged misrepresentations by Transworld. Indeed, the Complaint does not

even contain the word “reliance.” (See generally Dkt. No. 1.) That alone requires

dismissal for failure to plead every element of her UTPCPL. Twombly, 550 U.S. at

555. Nor would any such claim be possible, as Plaintiff’s active defense of the

state court action precludes her from plausibly alleging that she relied on any

claimed deceptive conduct, regardless of the actor.

      A similar fact pattern was addressed in Bainbridge, where the Court

dismissed plaintiffs’ UTPCPL claims against a law firm where the plaintiffs

alleged reliance and damages in the form of defending a foreclosure suit. 2017

WL 1178047, at *21. Because the plaintiff had retained counsel to successfully

defend the foreclosure action, the Court determined that “the basis of [p]laintiffs’

UTPCPL claim hinges on the fact that they did not rely on the alleged

misrepresentations” in the foreclosure lawsuit. Id. (emphasis added). The Court

held that allegations demonstrated that plaintiffs did not allege that they ever




                                         10
       Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 15 of 17




thought the communications relevant to their UTPCPL claims were accurate.

Accordingly, the UTPCPL claim was dismissed.

       Here, the same result is required. The Complaint is devoid of any allegation

that Plaintiff relied on any statement by the Trust (or anyone else) in the state court

action. Instead, she alleges the opposite. Plaintiff retained counsel and contested

the state court lawsuit from its inception through the filing of “preliminary

objections,” later achieving dismissal.     (Compl., ¶¶ 42–45, 49.)      Accordingly,

Plaintiff has not, and cannot, allege any justifiable reliance and this claim must be

dismissed with prejudice.

III.   COUNT II FAILS BECAUSE THE FCEUA DOES NOT AUTHORIZE
       A PRIVATE CAUSE OF ACTION FOR PURPORTED VIOLATIONS.
       If Plaintiff attempts to assert a claim against the Trust based on the FCEUA

in Count II, that claim fails too.5

       A plaintiff cannot state a claim for relief under the FCEUA if she cannot

state a claim for relief under the UTPCPL. See, e.g., Kaymark v. Bank of Am, N.A.,

783 F.3d 168, 182 (3d Cir. 2015) (“The FCEUA [] does not provide its own private

cause of action; rather, it is enforced through the remedial provision of the

UTPCPL.”) abrogated on other grounds by Obduskey v. McCarthy & Holthus

LLP, 139 S. Ct. 1029 (2019). As this Court recently recognized, “to plead a cause

5
 Plaintiff asserts that the FCEUA claim is brought against Transworld and RLG
but later refers to the “remaining defendants.” (See Compl. ¶¶ 91, 93.) Thus, the
Trust addressed the FCEUA claim out of an abundance of caution.

                                          11
      Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 16 of 17




of action under the FCEUA, plaintiffs must be able to state a claim under the

UTPCPL.” Prukala v. Chase Bank, N.A., No. 3:19-CV-1791, 2020 WL 5351042,

at *3 (M.D. Pa. Sept. 4, 2020).

      Here, if Plaintiff asserts an FCEUA claim against the Trust, it fails for the

same reasons as her UTPCPL claims. See Section II, supra (discussing reasons

Plaintiff’s UTPCPL claim fails); Prukala, 2020 WL 5351042, at *3 (dismissing

UTPCPL and contingent FCEUA claims where plaintiff failed to allege an

“ascertainable loss” or reliance); Walkup v. Santander Bank, N.A., 147 F. Supp. 3d

349, 358 (E.D. Pa. 2015).

                                  CONCLUSION

      For all of the foregoing reasons, Plaintiff’s Complaint against the Trust

should be dismissed with prejudice.




                                        12
Case 3:20-cv-01446-RDM Document 33 Filed 11/09/20 Page 17 of 17




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                              13
